             Case 1:16-cr-00087-RDB Document 132 Filed 02/24/17 Page 1 of 1
                                              U.S. Department of Justice
                                                       United States Attorney
                                                       District of Maryland

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                                                       February 23, 2017

The Honorable Judge Richard D. Bennett
U.S. District Court Judge
U.S. District Courthouse
101 W. Baltimore Street
Baltimore, MD 21201

           Re: United States of America v. Marcus Cureton, et. al.
               RDB-16-0087

Dear Judge Bennett:

       The above captioned matter is scheduled for trial on March 20, 2017. The government
intends to call numerous law enforcement officers as witnesses during trial. These witnesses are
from seven different jurisdictions.

        The government is in the process of obtaining the IAD file for the potential witnesses in
order to comply with our Giglio obligations. Two jurisdictions have provided files for their
officers (Baltimore City and Baltimore County).

       The remaining jurisdictions do not routinely turn over IAD files. Prince William County,
Virginia, will only turn over the IAD files by court order. Accordingly, please find the enclosed
proposed order for Prince William County.

        The government will continue to work with the remaining jurisdictions to obtain the
necessary IAD files. We may need to request additional court orders and will keep the court
abreast of such.

                                                       Very truly yours,

                                                       Rod J. Rosenstein
                                                       United States Attorney

                                                       By:________/s/_____________
                                                          Patricia McLane
                                                         Assistant United States Attorney

cc: Teresa Whalen, Esq., William Purpura, Esq., Michael Lawlor, Esq.
Enclosure
